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       In The United States Court of Federal Claims
                                           No. 04-1335C

                                      (Filed: August 6, 2010)
                                            __________
 JOSEPH BARNES,
 KAYLENE HOLUB,
 SOCORRO YOSUICO, et al.,

                        Plaintiffs,

         v.

 THE UNITED STATES,

                        Defendant.
                                            _________

                                             ORDER
                                            __________

        On August 6, 2010, the parties filed a joint status report indicating that they have agreed
upon the specific language of a proposed settlement agreement of the claim for attorney’s fees,
and requesting an additional 28 days to obtain the necessary approval for the proposed
settlement. Accordingly, on or before September 3, 2010, the parties shall file a joint status
report indicating the status of their settlement, unless a document indicating a final resolution of
the case is filed sooner.

       IT IS SO ORDERED.



                                                      s/ Francis M. Allegra
                                                      Francis M. Allegra
                                                      Judge
